                                    EXHIBIT B
                             (Loan & Security Agreement)




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                                 LOAN AND SECURITY AGREEMENT

        THIS LOAN AND SECURITY AGREEMENT ("Agreement"), dated as of November 22,
 2021, is between The Midwest Data Company LLC, an Ohio limited liability company
 (“Borrower”), and Instantiation LLC, a Delaware limited liability company (“Lender”). Lender
 and Borrower are referred to herein individually as a “Party” and, collectively, as the “Parties”.
                                            RECITALS
        WHEREAS, Borrower and Squirrels Research Labs LLC (“SQRL”) intend to commence
 a voluntary petition for relief (the “Bankruptcy Case”) under subchapter V (§§ 1181-1195) of
 chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy
 Code”), in the United States Bankruptcy Court for the Norther District of Ohio, Canton Division
 (the “Bankruptcy Court”);
        WHEREAS, upon filing the Bankrtupcy Case, Borrower will (a) become a debtor-in-
 possession under title 11 of the Bankruptcy Code, and (b) require post-petition financing, without
 which it will suffer immediate and irreparable harm, for additional working capital to fund its
 operations;
       WHEREAS, Lender is willing to advance a loan not to exceed a maximum principal
 amount of $350,000 to Borrower pursuant to the terms of this Agreement and the other Loan
 Documents (the “DIP Loan”);
        WHEREAS, any Advances made under this Agreement shall be evidenced by a
 promissory note of even date herewith made by Borrower in favor of Lender in the original
 principal amount of $350,000 (as amended, restated, supplemented, modified, extended, or
 renewed from time to time, the “Note”), and such other documents, agreements, filings and
 instruments required by the Lender in Lender’s sole and absolute discretion (collectively with this
 Agreement, the “Loan Documents”);
         WHEREAS, other than the financing pursuant to the post-petition financing proposed
 hereunder, Borrower has been unable to obtain additional needed unsecured credit, allowable as
 an administrative expense under § 503(b)(1) of the Bankruptcy Code, or sufficient secured credit
 secured by a junior security interest on encumbered property of the estate under § 364(c)(3) of the
 Bankruptcy Code, or a senior security interest on unencumbered property of the estate under §
 364(c)(2), and Borrower believes that it cannot obtain credit from any other lender on terms better
 than those set forth in this Agreement;
          WHEREAS, Borrower, in order to satisfy their need for post-petition financing, desires to
 borrow up to $350,000 and obtain Advances from Lender, which Advances shall be made pursuant
 to the terms of this Agreement and the other Loan Documents;
        WHEREAS, on or about the date hereof, Borrower, SQRL, and Lender are entering into
 an Asset Purchase Agreement (the “APA”) pursuant to which the Lender has agreed to acquire,
 and Borrower and SQRL have agreed to sell, subject to the terms and conditions of the APA, the
 Acquired Assets; and
        WHEREAS, on or about the date hereof Borrower, SQRL, Avnet, Inc., a New York
 corporation (“Avnet”), and Lender are entering into an Account Settlement and Sale Support
 Agreement (the “Support Agreement”).

                                           AGREEMENT

         NOW THEREFORE, the parties enter into the following agreement:


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 1. Recitals; Defined Terms.

     1.1. The foregoing recitals are incorporated herein by reference.

     1.2. Certain Definition.

         1.2.1. “Collateral” means all of the property, assets or interests in property or assets of
              Borrower of any kind or nature whatsoever, real or personal, now existing or hereafter
              acquired or created, including all property of Borrower’s bankruptcy estates (within
              the meaning of the Bankruptcy Code), including all causes of action, accounts,
              inventory, chattel paper, contract rights, instruments, documents, general intangibles
              (including all intellectual property, copyrights, deposit accounts, licensing
              agreements, patents, trademarks and trade names), machinery and equipment, real
              property, leases, cash, bank accounts and other investment property (but specifically
              excluding all causes of action arising under chapter 5 of the Bankruptcy Code, related
              state court provisions incorporated through chapter 5 of the Bankruptcy Code
              (“Avoidance Claims”), and the proceeds of Avoidance Claims) together with all
              proceeds, rents, products and profits of any of the foregoing. For the avoidance of
              doubt, the Insurance Claims shall be deemed to constitute Collateral.

         1.2.2. “Petition Date” means the date on which Borrower and SQRL file the Bankrtupcy
              Case with the Bankrtupcy Court.

         1.2.3. Other capitalized terms used but not defined herein shall have the meanings
              ascribed thereto in (a) the APA or (b) the Delaware Uniform Commercial Code.

 2. Loan Advances.

     2.1. Subject to the provisions of Section 11, Lender shall make advances (each such extension
          of credit being herein called an “Advance” and collectively, the “Advances”) to Borrower
          under the DIP Loan up to the principal amount of $350,000. Interest of 10% per annum
          (the “Interest Rate”) shall be charged against Advances, calculated on the basis of a 360-
          day year and actual days elapsed. Advances may be made at any time and from time to
          time upon no less than five Business Days prior notice; provided that Lender shall not be
          required to make any Advance that is less than $10,000 and the aggregate of all Advances
          under this Agreement shall in no event exceed $350,000. Borrower shall repay all
          outstanding Advances, together with interest accrued at the Interest Rate, upon maturity
          of the DIP Loan. Lender shall make available the entire principal balance of $350,000
          during the term of this Agreement consistent with the Budget so long as an Event of
          Default has not been declared.

     2.2. There is no prepayment penalty for any payment of principal under the DIP Loan. All
          payments on the DIP Loan shall be applied first to accrued interest, then to any cost or
          expenses owed to Lender and then the remainder to the principal balance of the DIP Loan.
          Borrower may prepay any portion or all of the DIP Loan but may not make a partial
          prepayment of less than $10,000. Amounts prepaid may not be reborrowed.



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     2.3. Lender shall keep a record of the payments made under this Agreement and the Note on
          its books which records shall be prima facie evidence of the amounts paid under this
          Agreement and the Note absent manifest error.

     2.4. Borrower shall make all payments due to Lender in lawful money of the United States, in
          immediately available funds.

     2.5. Whenever any payment due under this Agreement or the other Loan Documents shall fall
          due on a day other than a Business Day, such payment shall be made on the next
          succeeding Business Day, and such extension of time shall be included in the computation
          of interest or fees, as the case may be.

     2.6. Upon the occurrence of and during the continuance of an Event of Default, all amounts
          unpaid under this Agreement and the other Loan Documents shall bear interest at a default
          interest rate equal to the Interest Rate plus 5% per annum (such sum, the “Default Rate”).
          Interest shall continue to accrue at the Default Rate, and continue to be paid even after
          default, maturity, acceleration, the entry, recording or obtaining of a judgment against
          Borrower, bankruptcy or proceeding of any kind or nature.

     2.7. If any term or provision of this Agreement or any other Loan Document is in conflict with
          applicable usury law, this Section 2.7 governs as to such term or provision, and this
          Agreement and the other Loan Documents remain in all other respects in full force and
          effect. If any transaction contemplated by this Agreement and the other Loan Documents
          would be usurious, the aggregate of all consideration that constitutes interest under
          applicable law that is contracted for, charged, or received under this Agreement and the
          other Loan Documents shall not exceed the maximum interest allowed by applicable law.
          Accordingly, if interest in excess of the legal maximum is contracted for, charged, or
          received: (a) this Agreement and the other Loan Documents shall be reformed
          automatically so that the effective rate of interest is reduced to the maximum rate of
          interest permitted by applicable law, (b) for the purpose of determining the maximum rate
          and to the extent permitted by applicable law, all interest contracted for, charged, or
          received shall be amortized, prorated, and spread throughout the full term of this
          Agreement and the other Loan Documents so that the effective rate of interest is uniform
          throughout the life of this Loan Agreement and the other Loan Documents, and (c) any
          excess of interest over the maximum amount allowed under applicable law shall be applied
          as a credit against the then unpaid principal amount of the Note.

 3. Loan Documents. Any Advances made hereunder shall be subject to the terms of this
    Agreement, the Loan Documents, and any applicable order of the Bankruptcy Court approving
    the DIP Loan.

 4. Lender Records. The amount of each Advance shall be recorded on the books and records of
    Lender, and such record shall constitute proof of such Advance, and shall be admissible in
    evidence on such issue.




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 5. Borrower’s Business Operations. Borrower shall operate its business pursuant to the budget
    attached to the final DIP Order as Exhibit A (the “Budget”), and may use the Advances for the
    purposes described in and up to the amounts listed in the Budget (or according to deviations
    from the Budget expressly approved by Lender in writing) solely for the working capital and
    general corporate purposes of Borrower and payment of costs of administration of the
    Bankruptcy Case. The aggregate actual disbursements by Borrower measured on a rolling
    cumulative four-week basis shall be no greater than 105% of the aggregate amount of projected
    disbursements for such four-week period as set forth in the Budget. During the term of this
    Agreement, Borrower shall conduct its business in compliance with Section 5.1 of the APA.

 6. Reimbursement of Expenses. Borrower agrees to reimburse Lender for its reasonable legal fees
    and expenses incurred in connection with documenting, negotiating, implementing and
    enforcing the DIP Loan, payable out of Advances, if elected by Lender. Alternatively, Lender
    may require that Borrower reimburse these sums to Lender within ten (10) Business Days
    following written demand for payment.

 7. Grant of Superpriority Administrative Expense Claim and DIP Liens.

     7.1. As security for repayment of the DIP Loan, Borrower hereby grants and Lender shall have
          the following: (a) a superpriority administrative expense claim for Advances, pursuant to
          §364(c)(1) of the Bankruptcy Code (“Superpriority Claim”) and (b) a fully perfected,
          first priority security interest in and lien under §364(c)(2) of the Bankruptcy Code on all
          Collateral. The liens granted under clause (b) herein shall be referred to as the “DIP
          Liens”. Any Superpriority Claim and DIP Liens shall be subordinate only to the Carve
          Out. For the avoidance of doubt, the Superpriority Claim shall not be payable from
          proceeds of Avoidance Claims, and the DIP Liens shall not attach to the Avoidance Claims
          or proceeds thereof. The DIP Liens and the perfection thereof shall be effective by entry
          of the DIP Order and can be further evidenced and accomplished by a security agreement
          executed by Borrower and the filing of such UCC-1 Financing Statements and such other
          instruments, filings and actions as Lender determines to be necessary or appropriate in
          order to properly grant and perfect such security interests under applicable law and to
          otherwise protect Lender.

     7.2. For the avoidance of doubt, the security interest granted by this Agreement also secures
          future advances on the DIP Loan.

     7.3. Borrower authorizes Lender to file financing statements, financing statement addenda,
          continuation statements and financing statement amendments in such form and in such
          filing offices as Lender may require to perfect or to preserve, maintain or continue the
          perfection of the security interest in the Collateral and its priority. Borrower further agrees
          to execute and deliver to Lender, or to cooperate with Lender in obtaining from any third
          party, upon Lender's request, any control agreement, acknowledgment of bailment, or
          other document Lender may request in order to perfect or to preserve, maintain, or
          continue the perfection of any security interest in the Collateral granted to Lender and its
          priority. Borrower shall pay the out-of-pocket costs of filing any financing statement,
          financing statement addendum, continuation statement or termination statement as well as



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          any recordation or transfer tax required by law to be paid in connection with the filing or
          recording of any such document and such costs may, at Lender’s election, be drawn from
          an Advance. A carbon, photographic, or other reproduction of this Agreement is sufficient
          as a financing statement. Borrower shall not file any amendments, correction statements
          or termination statements concerning the Collateral without the prior written consent of
          Lender.

     7.4. Borrower authorizes Lender to request other secured parties of Borrower to provide such
          accountings, confirmations of collateral and confirmations of statements of account
          concerning Borrower as Lender may require. Borrower hereby appoints Lender or any
          officer of Lender as Borrower's attorney in fact for purposes of endorsing Borrower's name
          on any such requests to be delivered to other secured parties of Borrower, which power of
          attorney is coupled with an interest and irrevocable.

 8. Carve Out. The DIP Liens shall be subject to the following carve out expenses (the “Carve
    Out”):

     8.1. fees payable to the United States Trustee pursuant to 28 U.S.C. § 1930(a)(6);

     8.2. up to an aggregate of $50,000 fees payable to the Subchapter V Trustee pursuant to 28
          U.S.C. § 1183; and

     8.3. up to an aggregate of $150,000 for all claims of the respective retained professionals of
          Borrower whose retention is approved by the Bankruptcy Court during the Bankruptcy
          Case pursuant to Sections 327 and 328 of the Bankruptcy Code (collectively, the
          “Retained Professionals”) for fees and expenses which were incurred at any time on and
          after the Petition Date and before the Termination Date; provided that, in each case, such
          fees and expenses of the Retained Professionals are (i) expressly set forth in the Budget
          and (b) ultimately allowed on a final basis by the Bankrtupcy Court under sections 328,
          330 and 331 of the Bankruptcy Code (nothing herein shall waive the right of any party to
          object to the allowance of any such fees and expenses).

 For the sake of clarity, in the event the DIP Loan is terminated, or there are insufficient funds to
 repay the DIP Loan in full, the Carve Out shall not be subject to recovery by the Lender.

 9. Subordination. Notwithstanding anything herein or in any other Loan Document to the
    contrary, this Agreement, the other Loan Documents and the obligations of the Borrower (and
    the rights of the Lender) hereunder and thereunder are subordinate and junior in right of
    payment to the Avnet Secured Claim. Avnet, as holder of the Avnet Secured Claim, is intended
    to be a third party beneficiary of this Section 9. No amendment or modification of the
    provisions of this Section 9 shall be effective without the prior written consent of Avnet.

 10. Termination Date. This Agreement shall terminate upon the earliest of: (a) the expiration of
     ten (10) Business Days following written notice from Lender to Borrower of the occurrence of
     any material breach by (i) Borrower of the terms of this Agreement, any other Loan Document,
     the APA, or the Support Agreement, including, for the avoidance of doubt, any Event of



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     Default, (ii) SQRL of the terms of the APA or the Support Agreement; (b) the closing of a sale
     of all or substantially all of the assets of Borrower and SQRL pursuant to a sale under Section
     363 of the Bankruptcy Code in compliance with the terms of the APA; (c) the effective date of
     a confirmation of Borrower’s plan of reorganization in connection with the Bankrtupcy Case;
     (d) the conversion of Borrower’s bankruptcy case from a case under subchapter V of Chapter
     11 to a case under Chapter 7 of the Bankruptcy Code; (e) the dismissal of Borrower’s
     bankruptcy case, (f) appointment of a Chapter 11 trustee in Borrower's case, or (g) February
     28, 2022 (the earliest such event or date, referred to herein as the “Termination Date”).

 11. Effect of Termination. If this Agreement is terminated pursuant to Section 10, except upon the
     effective date of a confirmed plan of reorganization, Lender shall have a right to seek relief
     from the automatic stay on shortened notice, with a hearing on such relief to be held with
     fourteen (14) Business Days’ notice from the Lender to Borrower seeking such relief. In
     addition, if this Agreement is terminated pursuant to Section 10, (i) Lender shall automatically
     have no further obligation to Borrower other than in connection with the subordination of its
     lien and priority claim to the Carve-Out if not previously funded, (ii) any Advances then
     outstanding shall be immediately due and payable upon Lender's written notice that such
     termination has occurred, (iii) and, except as otherwise provided in this Agreement, Lender
     shall be permitted to pursue any and all available rights and remedies against Borrower and
     the Collateral.

 12. Conditions to Advances under this Agreement. Each Advance by Lender to Borrower under
     this Agreement and the Note shall be subject to the following conditions precedent:

     12.1.      The DIP Financing Order (as such term is defined in the Support Agreement), in
         form and substance satisfactory to Lender in respect of the approval of the DIP Loan and
         creation of the court-ordered super priority claims and security interests provided for
         herein shall have been made by the Bankruptcy Court.

     12.2.        No Event of Default shall have occurred or be continuing.

     12.3.        The Termination Date shall not have occurred.

     12.4.    Execution, delivery, and continued effectiveness of the APA and all Loan
         Documents.

 13. Binding Effect. This Agreement shall be binding upon Borrower and Lender, their respective
     successors, assigns and heirs, including any subsequent trustee for Borrower in reorganization
     or otherwise, and shall inure to the benefit of Borrower, Lender and their respective successors,
     assigns and heirs except that Borrower may not assign or transfer their rights hereunder without
     the express prior written consent of the Lender, which may be granted or withheld in the sole
     discretion of the Lender. The terms of this Agreement and the other Loan Documents shall be
     valid and enforceable obligations of Borrower jointly and severally, and all such obligations
     and the security interests, liens, rights and privileges granted to Lender survive the termination
     of this Agreement, the appointment of a trustee for Borrower in reorganization or otherwise,
     conversion of the bankruptcy cases to cases under Chapter 7, and the confirmation of a



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     subchapter V of Chapter 11 plan of reorganization. If any or all of the provisions of this
     Agreement are hereafter modified, vacated, or stayed by subsequent agreement, such action
     shall not affect the priority, validity, enforceability or effectiveness of any lien, security interest,
     priority or claim agreed to herein with respect to the obligation arising in the Loan Documents
     incurred by Borrower prior to the effective date of such subsequent agreement.

 14. Reasonableness of Terms. The terms of the DIP Loan are fair and reasonable, were negotiated
     by the Parties at arm’s length and in good faith, and are the best terms available to Borrower
     under present market conditions and Borrower’s financial circumstances. Any credit extended
     under the DIP Loan by Lender is extended in good faith, as that term is used in Section 364(e)
     of the Bankruptcy Code.

 15. Representations and Warranties. It is acknowledged that each Party has read this Agreement,
     the other Loan Documents, and the APA and has consulted counsel, or knowingly chose not
     to consult counsel, before executing the same; each Party has relied upon their own judgment
     and/or that of their counsel in executing this Agreement, the other Loan Documents, and the
     APA, and has not relied on or been induced by any representation, statement or act by any
     party that is not referred to in this Agreement, the other Loan Documents, or the APA; each
     Party enters into this Agreement, the other Loan Documents, and the APA voluntarily, with
     full knowledge of its significance; and this Agreement is in all respects complete and final.
     Borrower represents and warrants to the Lender that: it is a limited liability company duly
     incorporated, organized and validly existing under the laws of its jurisdiction of incorporation;
     it has all requisite power and authority to enter into and perform its obligations hereunder; and
     its execution and delivery of this Agreement, the other Loan Documents, and the APA, and the
     performance of its obligations hereunder and thereunder have been duly authorized by all
     necessary action.

 16. Covenants by Borrower. Borrower covenants and agrees that:

     16.1.      it shall comply with all laws, rules, regulations and orders applicable to it and its
         assets except as prohibited under the Bankruptcy Code or other applicable laws;

     16.2.      it shall maintain in good standing at all times all insurance coverage as is
         customarily carried by companies which are engaged in the same or similar business to
         the business of Borrower or as may be reasonably required by the Lender;

     16.3.      it shall not seek or consent to any plan of reorganization or liquidation or any plan
         of arrangement without the express prior written consent of Lender;

     16.4.     it shall not incur any senior indebtedness other than as expressly permitted by the
         Lender in writing;

     16.5.      it shall not merge, amalgamate, consolidate, reorganize, or sell any assets or license
         any technology outside of the ordinary course of business, unless expressly permitted in
         writing by the Lender or approved by the Bankruptcy Court; and




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     16.6.     it shall permit the Lender, its representatives and agents, to have access, during
         normal business hours and subject to reasonable time, to its books, records, property and
         premises.

 17. Reporting Covenants. Borrower shall deliver to the Lender by 5:00 p.m. (PT) on Tuesday of
     each week starting with the first Tuesday following the date of this Agreement:

     17.1.      line-by-line variance reports (in form and scope reasonably acceptable to the
         Lender) by week for the immediately preceding weekly period and on a cumulative basis
         from the beginning of the Budget period comparing actual cash disbursements to cash
         disbursements forecasted in the Budget for such period on a line-by-line basis. The
         variance report will include explanations of any variances of 5% or greater;

     17.2.      written update on the progress of and efforts of Borrower’s activities related to the
         sale of the Acquired Assets and Borrower’s and SQRL’s compliance with the term of the
         APA, including, but not limited to a listing of parties to be contacted, those contacted, who
         has expressed interest, which ones have executed a non-disclosure agreement, what
         materials were sent to each party and next steps in the process and data room usage reports;

     17.3.      prompt notice of any breach of covenant or other obligation of Borrower under or
         in connection with this DIP Loan (including, for the avoidance of doubt, any breach of the
         terms of the Loan Documents or the APA by Borrower, SQRL, or any of their respective
         Affiliates);

     17.4.      promptly, upon receipt, copies of all pleadings, motions, applications, judicial
         information, financial information, and other documents filed by or on behalf of Borrower
         with the Bankruptcy Court; and

     17.5.      such further reports and information as Lender may reasonably request from time
         to time.

 18. Events of Default. The occurrence of any one or more of the following events shall constitute
     an Event of Default which can be declared by Lender in writing:

     18.1.      The non-payment by Borrower or SQRL of any costs, or any other amount due
         under this Agreement, the other Loan Documents, or the APA, or the failure or Borrower
         or SQRL to perform as required under the Loan Documents or the APA (whether monetary
         or non-monetary in nature), in each case, to the extent such non-payment or non-
         performance is not cured by Borrower and/or SQRL within two (2) Business Days’ notice
         thereof;

     18.2.        Any expenditures in excess of the amount allocated to such item under the Budget;

     18.3.     The entry of any Bankruptcy Court order that adversely affects the DIP Loan or
         Lender’s rights, remedies, liens, priorities, benefits and protections under any or all of the
         Bankruptcy Court orders or the DIP Loan. In the event of a dispute regarding the



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          materiality of the adverse effect of such order, the Bankruptcy Court shall determine the
          dispute through a motion and an adversary proceeding will not be required.

 Upon the occurrence of an Event of Default and at all times after the Termination Date, any right
 of Borrower to receive any Advance or other extension of credit from the Lender shall be
 immediately terminated, and further Advances or extensions of credit (if any) made thereafter shall
 be in the sole and absolute discretion of Lender. Upon the occurrence of an Event of Default
 amounts owed by Borrower to the Lender shall become immediately due and payable, and Lender
 shall have the right to exercise all remedies under applicable law, including, without limitation,
 the right to realize on all Collateral.

 19. Indemnification. Borrower shall indemnify, defend with counsel acceptable to Lender and hold
     harmless Lender, its affiliates and its officers, directors, managers, members, employees,
     agents, attorneys and advisors (each, an “Indemnified Person”) from and against any and all
     suits, actions, proceedings, orders, claims, damages, losses, liabilities and expenses (including
     legal fees and disbursements and other costs of investigation or defense, including those
     incurred upon any appeal) that may be instituted or asserted against or incurred by any such
     Indemnified Person as a result of or in connection with credit having been extended, suspended
     or terminated under or in relation to the DIP Loan, or the use of the proceeds thereof, and the
     administration of such credit, and in connection with or arising out of the transactions
     contemplated hereunder and any actions or failures to act in connection therewith, including
     the taking of any enforcement action by Lender and its representatives, and including any and
     all environmental liabilities and legal costs and expenses arising out of or incurred in
     connection with disputes between or among any parties hereto, except to the extent that the
     suit, action, proceedings, orders, claims, damages, losses, liabilities and expenses arose directly
     from the gross negligence or willful misconduct of the Indemnified Person or breach of this
     Agreement by the Indemnified Person. All such indemnified amounts, if not immediately paid
     by Borrower upon demand, shall be secured by the Collateral.

 20. Amendment of Agreement. This Agreement shall not be amended except by a writing signed
     by all Parties.

 21. Governing Law; Waiver of Jury Trial. Section 9.14 of the APA is incorporated herein mutatis
     mutandis.

 22. Entire Agreement. This Agreement (together with the other Loan Documents and the APA)
     sets forth the entire agreement between the Parties, and there are no other agreements or
     understandings between them related to the subject matter hereof and thereof.

 23. Counterparts. This Agreement may be executed in any number of counterparts, each of which
     when so executed shall be deemed an original, but such counterparts shall together constitute
     one and the same agreement. Execution and delivery of this Agreement by electronic exchange
     bearing the copies of a Party’s signature shall constitute a valid and binding execution and
     delivery of this Agreement by such party. Delivery of an executed counterpart of the signature
     page to this Agreement by email, facsimile, portable document format (pdf) or any electronic
     signature complying with the U.S. federal ESIGN Act of 2000 (including DocuSign) shall be



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     as effective as delivery of a manually executed counterpart of this Agreement. Such electronic
     copies shall constitute enforceable original documents.

 24. Notices. All notices, requests, demands and other communications under this Agreement shall
     be in writing and shall be deemed to have been duly given or made as follows: (a) if sent by
     registered or certified mail in the United States return receipt requested, upon receipt; (b) if
     sent designated for overnight delivery by nationally recognized overnight air courier (such as
     Federal Express), one Business Day after delivery to such courier; (c) if otherwise actually
     personally delivered, when delivered; (d) if delivered by electronic mail before 5:00 p.m. (local
     time at the location of recipient) on a Business Day, when transmitted and receipt is confirmed;
     and (e) if delivered by electronic mail after 5:00 p.m. (local time at the location of recipient),
     when transmitted and receipt is confirmed, at 9:00 a.m. (local time at the location of recipient)
     on the following Business Day, provided that such notices, requests, demands and other
     communications are delivered to the address set forth below, or to such other address as any
     party shall provide by like notice to the other parties to this Agreement:

                  If to Borrower:        The Midwest Data Company LLC
                                         121 Wilbur Drive NE
                                         North Canton, OH 44720
                                         Attention:    David Stanfill, President
                                         Email:        david@squirrelsresearch.com

                  with a copy (which shall not constitute notice pursuant to this Section 24) to:

                                         Brouse McDowell, a Legal Professional Association
                                         388 S. Main Street, Suite 500
                                         Akron, OH 44311
                                         Attention:    Marc B. Merklin
                                         Email:        MMerklin@brouse.com

                  If to Lender:          Instantiation LLC
                                         434 Dorado Beach E
                                         Dorado, Puerto Rico 00646
                                         Attention:     Sam Cassatt
                                         Email:         sam@aligned.capital

                  with a copy (which shall not constitute notice pursuant to this Section 24) to:

                                         Sheppard, Mullin, Richter & Hampton LLP
                                         Four Embarcadero Center
                                         17th Floor
                                         San Francisco, California 94111
                                         Attention:    Jason R. Schendel and Jeannie Kim
                                         Email:        jschendel@sheppardmullin.com
                                                       jekim@sheppardmullin.com




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                                                                     EXECUTION VERSION


 25. Bankrtupcy Approvals. This Agreement is subject to Bankruptcy Court approval, upon notice
     and hearing as required by the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
     and the Local Rules of Bankruptcy Procedure of the Bankruptcy Court.

 26. Headings. Paragraph headings in this Agreement are included herein for convenience of
     reference only, and shall not constitute a part of this Agreement for any other purpose.

 27. Lender’s Approvals. Unless expressly stated to the contrary in this Agreement or the other
     Loan Documents, any and all matters pertaining to this loan or the making or administration
     thereof which require Lender’s approval, consent, discretion and/or determination shall be
     subject to Lender’s determination in its sole and absolute discretion.

                                    [Signatures on following page]




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                                                               HIGHLY CONFIDENTIAL


                 IN WITNESS WHEREOF, the parties have executed this Agreement as of the date
 first above written.

       BORROWER:                                         LENDER

       THE MIDWEST DATA COMPANY LLC                      INSTANTIATION LLC


       By:                                               By:
       Name: David Stanfill                              Name: Sam Cassatt
       Title: CEO                                        Title: Managing Member




                       [Signature Page to Loan and Security Agreement]

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                                                               HIGHLY CONFIDENTIAL


                 IN WITNESS WHEREOF, the parties have executed this Agreement as of the date
 first above written.

       BORROWER:                                         LENDER

       THE MIDWEST DATA COMPANY LLC                      INSTANTIATION LLC


       By:                                               By:
       Name:                                             Name: Sam Cassatt
       Title:                                            Title: Managing Member




                       [Signature Page to Loan and Security Agreement]

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